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 1                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA
 2
     MS. L, et al.,                                 Case No. 18cv428 DMS MDD
 3
                      Petitioners-Plaintiffs,
 4                                                  JOINT STATUS REPORT
           vs.                                      REGARDING REUNIFICATION
 5
   U.S. IMMIGRATION AND CUSTOMS
 6 ENFORCEMENT, et al.,
 7
               Respondents-Defendants.
 8
 9
10
            On July 9, 2018, this Court held a status conference, and ordered the parties
11
12 to file a joint report on July 10, 2018, “setting forth how many Class Members
13 have been or will be reunited with their children by the court-imposed deadline,
14
   and how many Class Members may not be reunited with their children by the
15
16 court-imposed deadline due to legitimate logistical impediments that render timely
17 compliance impossible or excusable . . . .” ECF No. 95 at 2. The parties submit this
18
   joint status report in accordance with the Court’s instruction.
19
20    I.      COMPLIANCE
21               A. Defendants’ Position
22
            As previously reported to the Court, Defendants have identified 102 children
23
24 under age 5 who, upon initial review by the U.S. Department of Health and Human
25 Services (“HHS”) were determined potentially to have been separated from a
26
   parent, and who therefore were potentially the children of class members. Upon
27
28

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 1 further review, and based on the latest available information at the time of filing,
 2 Defendants report the following regarding the reunification scenarios for those 102
 3
   children.
 4
 5        Not Eligible For Reunification
 6
              • 14 are not eligible for reunification because their parents are not class
 7              members.
                   o 8 parents had serious criminal history discovered during
 8
                      background checks (criminal histories identified include child
 9                    cruelty and narcotics, human smuggling, a warrant for murder,
                      and robbery).
10
                   o 5 adults were determined not to be the parent of the
11                    accompanying child.
                   o 1 parent faces credible evidence of child abuse.
12
13            • 2 are not eligible for reunification because their parents are not class
14              members at this time.
                   o 1 parent has been determined to present a danger to the child at
15                     this time because an adult in the household where the parent
16                     plans to live with the child has an outstanding warrant for
                       aggravated criminal sexual abuse against a 10 year old girl.
17                     This determination can be reconsidered if the parent identifies a
18                     different living situation.
                   o 1 parent detained in ICE custody is currently being treated for a
19                     communicable disease. When the parent no longer has a
20                     communicable disease, the reunification process can proceed.

21            • 10 are not eligible for reunification at this time. They will be assessed
22              for reunification after they are released from criminal custody,
                provided that Defendants are made aware of that release.
23                 o 8 parents are in the custody of U.S. Marshals Service. They will
24                     be assessed for reunification after they are released from
                       criminal custody and are transferred to U.S. Immigration and
25                     Customs Enforcement (“ICE”) custody.
26                 o 2 additional parents are in state or county custody. They will be
                       assessed for reunification after they are released from criminal
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 1                  custody, provided that Defendants are made aware of that
                    release.
 2
 3         • 1 child cannot be reunified at this time because the parent’s location
             has been unknown for more than a year. Defendants are unable to
 4
             conclusively determine whether the parent is a class member, and
 5           records show the parent and child might be U.S. citizens.
 6
        Likely Eligible For Reunification
 7
 8         • 4 children were reunified with family members before the July 10
             deadline.
 9              o 1 was released to a parent that ICE released into the U.S.
10              o 1 was released to a parent in the U.S. with the other parent
                    being deported.
11              o 1 was released to a parent in the U.S. with the other parent
12                  being still in ICE custody
                o 1 voluntarily departed with the child’s adult sibling, with the
13                  consent of the parent who is still in ICE custody.
14
           • 51 are eligible for reunification with a parent who is currently in ICE
15           detention.
16              o 34 parents have cleared a criminal background check and
                   parentage has been verified through a positive DNA match.
17                 They are expected to be reunified on July 10, 2018.
18              o 16 parents have cleared a criminal background check but the
                   process for verifying parentage has not yet been completed.
19                 They are expected to be reunified on July 10, 2018, or as soon
20                 thereafter as parentage can be verified.
                o 1 parent has criminal background check results that are still in
21                 question and are being resolved today.
22
           • 20 are eligible for reunification but cannot be reunified by July 10 due
23           to legitimate logistical impediments that render timely compliance
24           impossible or excusable.
                 o 12 of those parents were removed from the United States. The
25                  Government will work with Plaintiffs’ counsel to contact these
26                  12 parents and determine whether they wish to have their child
                    reunified with them in their home country. The parties’
27
28

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 1                      proposals regarding the process to be followed for these
                        individuals are laid out below.
 2                    o 8 parents were previously released into the United States and
 3                      are undergoing safety and suitability screening in accordance
                        with the TVPRA.
 4
 5         Defendants contend that the above numbers show that Defendants are in
 6
     compliance with the Court’s order. Of the 75 children eligible for reunification,
 7
     Defendants have already reunified 4, and expect to reunify 34 by the July 10
 8
 9 deadline, and 16 soon thereafter pending confirmation of eligibility. Of the
10
     remaining 20, 8 will be reunified as soon as HHS can determine that the parent is
11
     not unfit or a danger to the child in accordance with its existing procedures under
12
13 the TVPRA, and the remaining 12 may be reunified if their parents can be located
14
     and if those parents request reunification, and reunification is otherwise proper
15
     under the Court’s order. Moreover, of the 27 children not currently eligible for
16
17 reunification, 14 have parents who are not class members, and the remaining 13
18
     may be reunified if and when their parents no longer present a danger, have a
19
20 communicable disease, or are in criminal custody so long as ICE is aware of their
21 release, and it is otherwise determined that they meet the criteria for reunification.
22
     Thus, any children not being reunified by the July 10 deadline are not being
23
24 reunified because of legitimate logistical impediments that render timely
25 compliance impossible or excusable, and so Defendants are complying with the
26
     Court’s order.
27
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 1                 B. Plaintiffs’ Position
 2            Plaintiffs do not agree that Defendants have fully complied with the initial
 3
     reunification deadlines in the Court’s preliminary injunction order. Plaintiffs
 4
 5 received Defendants’ updated numbers within the past hour, and have no
 6
     independent verification that these numbers are accurate, or that there are not
 7
     additional children under five who should be on the government’s list. Plaintiffs,
 8
 9 however, can state the following: By today’s deadline, Defendants only plan to
10
     reunify about half of the parents with children under five years old. Plaintiffs
11
     recognize that Defendants cannot yet reunify the parents who are currently being
12
13 held in criminal custody. But as to all other Class Members with children under
14
     five, the government is not in compliance with the clear deadline ordered by the
15
     Court.
16
17            1.      For the Class Members who were deported without their children,
18
     Defendants have not even tried to contact them or facilitate their reunification by
19
20 today. Their children are stranded in this country because of Defendants’ actions,
21 and yet Defendants have apparently done nothing to facilitate their reunification.
22
              2.      For the Class Members who have been released from custody,
23
24 Defendants have not explained why they could not facilitate their reunification by
25 the deadline. Defendants have all of these parents’ contact information, and there
26
     are apparently only 8 of them. To the extent Defendants have chosen to subject
27
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 1 these parents to ORR’s lengthy sponsorship process, Plaintiffs do not believe those
 2 procedures are required. Moreover, even if Defendants believed those procedures
 3
   would prevent them from reunifying 8 parents in two weeks, they should have
 4
 5 informed the Court far earlier than last Friday’s status conference, a mere four days
 6
     before the deadline.
 7
              3.      There are Class Members that Defendants do not currently plan to
 8
 9 release today, because Defendants have not yet completed their DNA tests.
10
     Defendants have not explained why they could not complete these tests or verify
11
     parentage through other means by today’s deadline.
12
13            4.      There is one child for whom Defendants have not even identified a
14
     parent. They have not explained what steps they have taken to find this Class
15
     Member.
16
17      II.        DEADLINES
18
                   • Removed Parents: Defendants have provided to Plaintiffs the date of
19                   removal and country of removal for all known removed parents with
20                   children under 5. Defendants will provide to Plaintiffs the location of
                     the ICE detention facility where each removed parent was last held.
21                   Plaintiffs’ counsel will seek to locate those removed parents and
22                   provide them with notice of their right to be reunified. If any parent
                     expresses that he or she wishes to be reunified with his or her child
23                   then Defendants will facilitate that reunification.
24
                         o Plaintiffs’ Position: Plaintiffs believe that once Defendants are
25                         notified that a removed parent wishes to be reunified with his or
26                         her child, reunification should occur within 7 days.

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 1               o Defendants’ Position: Defendants ask the Court to allow a more
                   flexible time period because there are several issues that may
 2                 impact the timing of removal for these children. For example,
 3                 Defendants would need to obtain travel documents for the
                   child, and any ongoing removal proceedings for that child
 4                 would have to be terminated which might require separate
 5                 waiver from the parents and/or approval from an immigration
                   judge. Moreover, if the child has already obtained relief and is
 6
                   in lawful status, then Defendants would not have the ability to
 7                 facilitate reunification with a parent abroad. Because pieces of
                   this process are out of Defendants hands, Defendants request
 8
                   that the Court allow for a flexible schedule for such removals
 9                 that considers the need to complete these steps prior to removal
                   for reunification.
10
11         • Reunification To Released Parents: This issue will be determined, at
             least in part, by the Court’s ruling on the parties’ joint submission on
12           the procedures to be followed by HHS under the Court’s order.
13           Accordingly, the parties will meet and confer following that ruling
             and will submit a proposal, or respective positions, on this issue for
14           the Court’s consideration.
15
16
17 DATED: July 10, 2018                Respectfully submitted,

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